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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                         ) BANKRUPTCY CASE
                                               )
ADRIAN STAFFORD VERWAYNE,                      ) NO.: 18-50346-BEM
                                               )
         Debtor.                               ) CHAPTER 13
                                               )
                                               )
                                               )
                                               )
                                               )


                              OBJECTION TO CONFIRMATION

         COMES NOW Freedom Mortgage Corporation (hereinafter known as "Creditor"), a

secured creditor holding a Security Deed against the real property commonly known as 130

Wynfield Way SW, Atlanta, GA 30331 (the "Property"), and for the reasons stated below,

objects to confirmation of Debtor's Chapter 13 plan (Doc. No. 2) (the "Plan").

                                                 1.

         This Chapter 13 case was filed on January 8, 2018. Debtor filed a prior case, 17-51537,

which was dismissed on January 4, 2018.

                                                 2.

         Debtor's Plan underestimates the estimated prepetition arrearage amount of $56,788.00

owed to Creditor for the Property.       Debtor’s Plan proposes to pay a mere $15.00 upon

confirmation. Plan proposes that the payments will increase to $1,314.00 after attorney fees are

paid, but it does not provide a specific date as to when payments will increase. Creditor asks that

the Debtor begin paying larger payments upon confirmation and throughout the life of the

Debtor's Plan.
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                                                  3.

       Creditor reserves the right to raise the failure of Debtor to have made post-petition

mortgage payments if at the time of the confirmation hearing that appears to be the case.



       WHEREFORE, Creditor prays that the Court will:

           1. Deny confirmation,

           2. Award reasonable attorney’s fees, and

           3. Grant such other and further relief as is just and equitable.

                                             /s/A. Michelle Hart Ippoliti
                                              A. Michelle Hart Ippoliti
                                              GA BAR NO. 334291
                                              Attorney for Creditor
                                              McCalla Raymer Leibert Pierce, LLC
                                              1544 Old Alabama Road
                                              Roswell, GA 30076
                                              678-281-6537
                                              Michelle.Ippoliti@mccalla.com
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In Re:     Adrian Stafford Verwayne                    Bankruptcy Case No.: 18-50346-BEM

                                                          Chapter:                 13

                                                          Judge                    Barbara Ellis-Monro

                                        CERTIFICATE OF SERVICE

                  I, A. Michelle Hart Ippoliti, of MCCALLA RAYMER LEIBERT PIERCE, LLC,
            1544 Old Alabama Road, Roswell, Georgia 30076-2102, certify:

                  That I am, and at all times hereinafter mentioned, was more than 18 years of age;

                   That on the date below, I served a copy of the within OBJECTION TO
            CONFIRMATION filed in this bankruptcy matter on the following parties at the
            addresses shown, by regular United States Mail, with proper postage affixed, unless
            another manner of service is expressly indicated:

            Adrian Stafford Verwayne
            130 Wynfield Way
            Atlanta, GA 30331

            Karen King                       (served via email at notices@kingkingllc.com)
            King & King Law LLC
            215 Pryor Street, S.W.
            Atlanta, GA 30303

            Mary Ida Townson, Trustee                  (served via email)
            191 Peachtree Street, NE
            Suite 2200
            Atlanta, GA 30303-1740

            I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
            AND CORRECT.


            Executed on:   2/26/2018        By:    /s/A. Michelle Hart Ippoliti
                               (date)              A. Michelle Hart Ippoliti
                                                   Georgia BAR NO. 334291
                                                   Attorney for Creditor
